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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


J.G.G., et al.,

Plaintiffs,

                             v.                              Case No: 1:25-cv-00766-JEB

DONALD J. TRUMP, in his official capacity as
President of the United States, et al.,

Defendants.



   [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR PRELIMINARY
                           INJUNCTION

        Upon consideration of Plaintiffs’ Motion for Preliminary Injunction, and any opposition,

reply, and further pleadings and argument thereto:

        Having determined that Plaintiffs are likely to succeed on the merits of their clams that

the Alien Enemies Act, 50 U.S.C. § 21 et seq., does not authorize Defendants to summarily

remove them from the United States; that they have suffered violations of their rights under the

Administrative Procedure Act, the Immigration and Nationality Act, statutes providing

protection for those seeking humanitarian relief, and due process; that Plaintiffs will suffer

irreparable injury in the absence of injunctive relief; and that the balance of hardships and public

interest favor a preliminary injunction, it is, therefore,

        ORDERED that Plaintiffs’ Motion for Preliminary Injunction is hereby GRANTED; and

that Defendants-Respondents (“Defendants”), their agents, representatives, and all persons or

entities acting in concert with them are hereby:

        1. ORDERED, pending further order of this Court, not to remove Plaintiffs, or any



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           members of the provisional class, from the United States pursuant to the Alien

           Enemies Act and any rules implementing the President’s Proclamation dated March

           15, 2025, invoking the Act.


It is further ORDERED that Plaintiffs shall not be required to furnish security for costs. Entered

on __________, 2025 at _______ a.m./p.m.



                                             _____________________________________
                                             The Honorable Chief Judge James E. Boasberg




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